      Case 20-43597       Doc 1674 Filed
                           UNITED        04/05/21
                                    STATES          Entered 04/05/21
                                               BANKRUPTCY            12:07:02
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                                              Pg  1 of 3
                              EASTERN DISTRICT OF MISSOURI
                                     SOUTHEASTERN.DIVISION                                 RECEIVED AND FILED
                                                                                             APR O5 2021
Manuel M. da Silva                                                   Chapter 11            USBC-EDMO-MR
14752 Crenshaw Blvd# 484
Gardena, CA 90249                                                    Case No. 20-43597-399
E-mail: deliv2@,vahoo.com .
Tel: 310-747-4115                                                    Honorable Judge: Barry S. Schermer
               CREDITOR
                    vs.
Briggs & Stratton Corporation and its affiliates
               DEBTORS

MOTION FOR OBJECTION TO THE DEBTORS ASKING TIDS COURT TO DISALLOW THE
PROOF OF CLAIM FILED BY THE CREDITOR BECAUSE IS DUPLICATIVE, AND FOR FULL
REIMBURSEMENT OF THE MONEY INVESTED BY THE CREDITOR IN THE BRIGGS &
STRATTON CORPORATION.

03/29/2021

  The Creditor requests this Court to take into consideration his proof of claim filed on 10/23/2020,
notwithstanding the Debtors have already allowed a Creditor's claim in the name of the Indenture Trustee.

  The Creditor further supports the reasons outlined in his proof of claim in order to be reimbursed up to the
amount of money that he has invested in Briggs & Stratton Corporation, and believes that the claim asserted
against the debtors has merit.

  Due to the advanced age of the Creditor and his lack of adequate sources of income, a not full recover of the
money that he has invested, will result in a forfeited opportunity for appreciation of the money and financial
consequences to his affordability for costs associated with potential health problems. Many seniors have seen
their money depleted from their saving or investment accounts because of health-care-related expenses.

  The Creditor considers that the Pro Share of the net cash proceeds allocated by the Debtors' Plan to the
"General Unsecured Claims against BSC" is unfair, unreasonable, and inadequate and is not in the best interests
of the bondholders. Further, since the Debtors continue to operate their business, they might be able to organize
and establish a plan to fully reimburse certain classes of investors taking into account their financial needs.

  It would be reasonably appropriated that the Honorable Judge enters an opinion and decision guided not only
by strict application of legal rules of the Bankruptcy Code, but also by principles of fairness and justice.
Accordingly, given the relevant facts and plausible defenses as set forth herein, the Creditor should be granted
the full amount of money that he has invested in the Briggs & ~tratton Corporation.

  The Creditor further requests a waiver for his appearance at the hearing to be held on April 14, 2021, if
required, due to be apprehensive about the COVID-19 pandemic as well as traveling expenses.

  The Creditor encloses his 2020 California Resident Income Tax Return in order to prove his low income and
age.

Respectfully,
~Jl__---
Manuel. M. da Silva.
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        11 Exemption amount Add line 7 through line 10. Transfer this amount to line 32 • . • • • • . • • • • • . @ 11 $                                        l...__--=-,l..;;;;;...1.f'-==:.3__  --1




        13 Enter federal adjusted gross income from federal Form 1040 or 1040-SR, line 11 ....•..• ® 13
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        14 California adjustments - subtractions. Enter the amount from Schedule CA (540),
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        15 Subtract line 14 from line 13. If less than zero, enter the result in parentheses.
 I         See instructions • • • • . • • • • • • • • • • • • • • • • • • • • • • • • . . • • • • • • • • • • • • • • • • • • • • • • • • • • • • 15                                                   -~
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        16 Galifomia adjustments- additions. Enter the amount from Schedule CA (540),
           Part I, line 23, column C.•..•.......•.....•..•.•..•..•••.........••.......... • 16
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 i      17 Galifomia adjusted gross income. ComblneJine 15 and line 16 ....................... • 17                                                                           .
J       18 Enter       the{ Your California itemized deductions from Schedule CA (540), Part 11, line 30; OR                                           )
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                                • Married/ADP filing jointly, Head of household, or Qualifying widow(er) •••• $9,202                                       .---------                                   n
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        31     Tax. Check the box If from:                                                          Tax Rate Schedule

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        32     Exemption credits. Enter the amount from line 11. Hyourfederal AGI is more than
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        33 Subtract line 32 from line 31. If less than zero, enter-0- .••••••••••••••••••••••••••. @ 33

        34 Tax.Seeinstructions.Checktheboxiffr~m:eO ScheduleG-1                                            •□ FTB5870A ••                  • 34

        35 Add line 33 and line 34 •••••••••••••••••••••.•••••••.••••••••••••••••. : ••••••                                                ® 35

t       40     Nonrefundable Child and Dependent Care Expenses Credit See instructions. • • • • • • • • • • • • • 40
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 ■           Side 2 Form 540 2020                                       333       I            3102203                     I                                                                                ■
